Case 1:19-cv-14766-RMB-JBC             Document 642       Filed 05/16/25     Page 1 of 1 PageID:
                                            27086



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 NEW JERSEY DEPARTMENT OF                                 Civil Action No. 1:19-cv-14766
 ENVIRONMENTAL PROTECTION, et al.,
                                                           Hon. Renée M. Bumb, Chief U.S.D.J.
                                 Plaintiffs,                   James B. Clark, III, U.S.M.J.
 v.
                                                               ORDER GRANTING
 E. I. DU PONT DE NEMOURS AND                             DEFENDANTS’ REQUEST FOR USE
 COMPANY, et al.,                                             OF EQUIPMENT IN THE
                                                           COURTROOM AND BREAKOUT
                                 Defendants.                         ROOM



         IT IS HEREBY ORDERED that the following requests made by Defendants, with the

exception of 3M, (“Defendants”) for the upcoming Phase 1 trial to commence May 19, 2025 are

hereby GRANTED.


      1) To allow the use by counsel, paralegals, and technical consultants of Defendants of

         equipment and other supplies listed in Exhibit A, Exhibit B, and Exhibit C in the

         courtroom and assigned breakout room.


      2) To allow counsel, paralegals, and technical consultants of Defendants to bring personal

         laptops and mobile phones into the courthouse.


         Dated: May 16, 2025



         Hon. Renée M. Bumb
         Chief United States District Judge
